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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                          No. 1:19cr10040 JDB

ALEXANDER ALPEROVICH, M.D.,

        Defendant.


                                   ORDER OF REFERENCE


        Before the Court is the April 18, 2019, motion of counsel for Defendant, Alexander

Alperovich, M.D., to release Defendant and set a detention hearing. (Docket Entry 13.) This

motion is referred to the United States Magistrate Judge for determination. Any objections to the

Magistrate Judge’s order shall be made within fourteen days after service of the order, setting

forth particularly those portions of the order objected to and the reasons for the objections. See

Fed. R. Crim. P. 59(a).

        IT IS SO ORDERED this 18th day of April, 2019.



                                             s/ J. DANIEL BREEN
                                             UNITED STATES DISTRICT JUDGE
